

Matter of Robinson v Clerk of the Ct. (2016 NY Slip Op 07765)





Matter of Robinson v Clerk of the Ct.


2016 NY Slip Op 07765


Decided on November 17, 2016


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 17, 2016

Acosta, J.P., Renwick, Moskowitz, Feinman, Kahn, JJ.


2243 73/16 -4672

[*1]In re Reginald Robinson, Petitioner,
vClerk of the Court, on behalf of Bronx County Supreme Court, Respondent.


Reginald Robinson, petitioner pro se.
John W. McConnell, New York State Office of Court Administration, New York (Lee Alan Adlerstein of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 17, 2016
CLERK








